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 9
10                          UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
                                     WESTERN DIVISION
13
14
15   SHLA GROUP INC., PARK 2580, INC.,           Case No. 2:23-cv-07567-TJH-BFM

16                  Plaintiffs,                  [Hon. Judge Terry J. Hatter, Jr.]

17            v.                                 DEFENDANT KISSLER AND CO.
                                                 INC’S NOTICE OF MOTION AND
18   KISSLER AND CO. INC.                        MOTION TO DISMISS VARIOUS
                                                 CAUSES OF ACTION IN
19                  Defendant.                   PLAINTIFFS’ COMPLAINT;
                                                 MEMORANDUM OF POINTS AND
20                                               AUTHORITIES

21                                               [Filed concurrently with (1) Declaration
                                                 of Jeffrey Kissler; (2) Request for
22                                               Judicial Notice; and (3) [Proposed]
                                                 Order]
23
                                                 Date:           March 4, 2024
24                                               Time:           UNDER SUBMISSION
                                                 Courtroom:      9C
25
26
27
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 1                                   NOTICE OF MOTION
 2         TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE, that on March 4, 2024, or as soon thereafter as the
 4   matter may be heard in Courtroom 9C of the above-captioned Court, located at 350 W.
 5   1st Street, Los Angeles, California, 90012, Defendant Kissler and Co. Inc. will and
 6   hereby does move the Court to dismiss the second (breach of written contract), third
 7   (breach of implied contract), and fourth (promissory estoppel) causes of action in
 8   Plaintiffs’ Complaint, pursuant to Rule 12(b)(6) of the Federal Rules of Civil
 9   Procedure, on the ground that Plaintiffs have failed to state a claim upon which relief
10   can be granted as to the aforementioned claims.
11         PLEASE TAKE FURTHER NOTICE that, as set forth in Hon. Terry J. Hatter
12   Jr.’s local procedures, “no appearance [is] necessary” in connection with this motion,
13   as “Judge Hatter takes all CIVIL motions under submission as of the calendared date
14   of the motion (see Local Rule 83-9.2).”
15         This motion is made following conferences of counsel pursuant to L.R. 7-3
16   beginning on January 8, 2024.
17         The motion is based upon this Notice; the Memorandum of Points and
18   Authorities attached hereto; the Declaration of Jeffrey Kissler filed concurrently
19   herewith and all exhibits thereto; the Request for Judicial Notice filed concurrently
20   herewith; all pleadings, papers and records on file with the Court in this action; and all
21   other such argument and evidence as may be presented to the Court in connection with
22   the motion.
23
24   Dated: January 16, 2024                    K&L GATES LLP
25                                              By /s/ Kevin G. Sullivan
                                                   Ronie M. Schmelz
26                                                 Kevin S. Asfour
                                                   Kevin G. Sullivan
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2            Defendant Kissler and Co. Inc (“Kissler”) respectfully submits this
 3   Memorandum of Points and Authorities in support of its Motion to Dismiss the
 4   Complaint of Plaintiffs SHLA Group Inc. (“SHLA”), and Park 2580, Inc. (“Park
 5   2580”) (collectively, “Plaintiffs”).
 6       I.   INTRODUCTION
 7            Kissler is a family-owned plumbing repair part manufacturer and distributor
 8   located in northern New Jersey. Plaintiffs are plumbing and home improvements
 9   manufacturers and distributors located in California, from whom Kissler purchased—
10   and paid for—in excess of $1 million worth of products (which Plaintiffs implicitly
11   acknowledge in their Complaint, as detailed herein) for resale to Home Depot.
12            Plaintiffs’ Complaint asserts four causes of action. The first, for declaratory
13   relief, relates to an indemnity dispute between the parties regarding an underlying
14   action for patent infringement, brought against Kissler by Danco, Inc. (not a party to
15   this action), stemming from Kissler’s purchase and resale of Plaintiffs’ products.
16   Plaintiffs’ filing of the declaratory relief claim—and indeed this entire civil action—
17   was prompted by Kissler’s pre-suit correspondence with Plaintiffs regarding the
18   indemnity dispute, wherein Kissler advised Plaintiffs that it was preparing to file suit
19   in the U.S. District Court for the District of New Jersey if the indemnity dispute could
20   not be resolved, and provided a draft complaint (as is evidenced by the exhibits to
21   Plaintiffs’ own Complaint). In other words, Plaintiffs engaged in a “race to the
22   courthouse” in an attempt to have the indemnity dispute venued in California rather
23   than New Jersey.
24            Kissler is not moving to dismiss the Complaint’s declaratory relief cause of
25   action. 1 Kissler does, however, move to dismiss the Complaint’s other causes of
26
27   1
       Shortly after Plaintiffs filed this action, Kissler filed its case against Plaintiffs in New
     Jersey. Although Kissler initially contemplated moving to dismiss Plaintiffs’ entire
28   case in this Court under the “anticipatory filing” exception to the first-filed rule, in
     favor of Kissler’s pending action in New Jersey—and strongly believes such motion
     would be merited—Kissler has ultimately elected not to go that route. Instead, to
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 1   action, for breach of written contract, breach of implied contract, and promissory
 2   estoppel. Plaintiffs have not adequately pleaded any of these claims—nor can they.
 3   At the core of Plaintiffs’ claims are three purchase orders that Kissler allegedly placed
 4   with Plaintiffs on December 17, 2021, in the total alleged amount of approximately $2
 5   million. Plaintiffs allege that Kissler has “breached” and “repudiated” its obligations
 6   to purchase all of the goods referenced in those December 17, 2021 purchase orders.
 7   Plaintiffs also allege that in “reliance” on those purchase orders, they made
 8   arrangements with an unnamed Chinese manufacturer to produce “all the products
 9   needed to fulfill Kissler’s December 17, 2021 purchase orders.”
10         As is demonstrated by the parties’ email correspondence surrounding the
11   December 17, 2021 purchase orders—which emails the Complaint extensively cites,
12   relies upon, and even (selectively) quotes from, but does not attach 2—those purchase
13   orders did not amount to a contract, as a matter of law. Nor did they (or could they
14   have) induced Plaintiffs’ “reliance,” let alone reasonable reliance, for multiple distinct
15   reasons:
16              • First, Plaintiffs immediately (the same day) responded to the December
17                 17, 2021 purchase orders by rejecting them, in writing, based upon the
18                 price Kissler offered for certain products, and instead requested that
19                 Kissler adjust the price and resubmit revised orders. As a matter of
20                 hornbook law, this counter-proposal by Plaintiffs extinguished those
21                 purchase orders.
22              • Second, Kissler immediately (still the same day), responded to Plaintiffs’
23                 request, in writing, and declined to resubmit the orders, explaining,
24
25
     avoid the further delay that a “forum fight” would inevitably entail, Kissler intends to
26   dismiss its action in New Jersey (without prejudice) and instead assert its various
     contractual and tort claims against Plaintiffs in this action, as counterclaims,
27   concurrently with its answer.
28   2
       As detailed in Section II, below, the Court may thus consider the emails under the
     “incorporation by reference” doctrine.
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 1                “Please hold off on the POs. HD [Home Depot] is asking for another
 2                week and are going to push back the May date. Sorry but they just called
 3                me. Please confirm.” Plaintiffs immediately responded and confirmed,
 4                “Got it, no problem.” This entire exchange occurred on December 17,
 5                2021, over the course of just a few hours.
 6            • Third, six days later, on December 23, 2021, Kissler submitted a new
 7                purchase order to Plaintiffs, stating, “Here is your opening order. ... Please
 8                let me know if this can ship by April 1st the latest.” In reply, Plaintiffs
 9                stated, “Are we going to keep the previous 3 POs or cancel? What’s the
10                total plan for shipments?” Kissler replied, the same day, “For now cancel
11                the previous 3. We won’t know about those until Jan so I can always re-
12                write. For the PO I just sent, please ship whenever it’s ready.” Plaintiffs
13                responded later that day, “Ok, will do. Thanks!”
14         The Complaint, in fact, acknowledges the December 23, 2021 purchase order, as
15   well as two subsequent orders placed by Kissler, totaling in excess of $1 million, and
16   does not allege that Kissler breached any of those purchase orders. Rather, the
17   Complaint seeks to hold Kissler liable for “breach” of the earlier December 17, 2021
18   purchase orders, allegedly totaling $2 million—despite the incontrovertible written
19   record demonstrating that there was no contract formed by the December 17, 2021
20   purchase orders and, moreover, that Plaintiffs confirmed in writing their understanding
21   that those orders had been extinguished and abandoned.
22         Similarly, in an attempt to plead a vaguely asserted promissory estoppel claim,
23   Plaintiffs maintain that they undertook steps in “reliance” on the December 17, 2021
24   purchase orders, in January of 2022—weeks after (i) the orders had been extinguished
25   by Plaintiffs’ own conduct, and (ii) the parties had confirmed in writing that those
26   orders were no longer operative. Plaintiffs’ allegations of reliance are thus facially
27   implausible and infirm. Additionally, the Complaint does not allege a “clear and
28   unambiguous” promise, as would be required to support a claim of promissory

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 1   estoppel. Moreover, the law is clear that the doctrine of promissory estoppel does not
 2   even apply to commercial bargaining discussions, in any event.
 3         Finally, Plaintiffs have asserted an ill-fated “implied contract” claim that (i) fails
 4   to articulate the terms of the supposed implied contract with any meaningful
 5   particularity; (ii) does not demonstrate conduct by Kissler that would have given rise to
 6   any implied contract; and (iii) is based upon selective quotations and
 7   misrepresentations of the parties’ email correspondence.
 8         In sum, Plaintiffs’ contractual and promissory estoppel claims are facially
 9   invalid and foreclosed by the very writings on which the Complaint relies. It is readily
10   apparent that Plaintiffs hastily manufactured those claims in an effort to gain leverage
11   over Kissler in connection with the parties’ pending indemnity dispute. The Court
12   should thus dismiss these claims, without leave to amend.
13   II.   LEGAL STANDARD
14         Kissler moves to dismiss under Fed. R. Civ. P. 12(b)(6). To withstand a Rule
15   12(b)(6) motion, “a complaint must contain sufficient factual content ‘to state a claim
16   to relief that is plausible on its face.’” Landers v. Quality Commc’ns, Inc., 771 F.3d
17   638, 641 (9th Cir. 2014) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
18   (2007)). Plausibility requires “more than a sheer possibility that a defendant has acted
19   unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Where a complaint pleads
20   facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line
21   between possibility and plausibility of ‘entitlement to relief.’” Id. (quoting Twombly,
22   550 U.S. at 557). Thus, Plaintiffs must allege facts—not mere “labels and
23   conclusions[,]” “a formulaic recitation of the elements of a cause of action[,]” or
24   “naked assertion[s] devoid of “further factual enhancement”—that elevate his claims
25   from merely possible to plausible. Id. (internal quotation marks omitted).
26         In ruling on such a motion, the district court accepts as true all allegations of
27   material fact. Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
28   “The court need not, however, accept as true allegations that contradict matters

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 1   properly subject to judicial notice or by exhibit. . . . Nor is the court required to accept
 2   as true allegations that are merely conclusory, unwarranted deductions of fact, or
 3   unreasonable inferences.” Id. On a motion to dismiss, [a court] may consider
 4   materials incorporated into the complaint . . . .” Coto Settlement v. Eisenberg, 593 F.3d
 5   1031, 1038 (9th Cir. 2010).
 6          Importantly for present purposes, the “incorporation by reference” doctrine
 7   allows a court to look beyond the pleadings without converting a 12(b)(6) motion into
 8   a motion for summary judgment. Knievel v. ESPN, 393 F.3d 1068, 1076-1077 (9th
 9   Cir. 2005). A court may deem a document incorporated into a complaint “if the
10   plaintiff refers extensively to the document or the document forms the basis of the
11   plaintiff’s claim.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
12   Accordingly, a document may be incorporated even if it is never referenced directly in
13   the complaint if the claim necessarily depended on the document. See Parrino v. FHP,
14   Inc., 146 F.3d 699, 706 (9th Cir. 1998), superseded by statute on other grounds as
15   recognized in Abrego Abrego v. Dow Chem. Co., 443 F.3d 676, 681-82 (9th Cir.
16   2006).
17   III.   RELEVANT FACTUAL BACKGROUND
18          Preliminarily, Kissler notes that Plaintiffs allege, and base their claims upon, a
19   series of communications between themselves and Kissler, including email traffic
20   spanning July 7, 2021 through April 13, 2022. (See Compl., ¶¶ 12-15.) Indeed, in
21   several instances the Complaint purports to quote directly from the emails. (See id.)
22   As such, the emails are incorporated by reference into the Complaint, and the Court
23   may consider them in ruling on this motion, alongside the allegations in the body of
24   the Complaint itself.3 See, e.g., Knievel, 393 F.3d at 1076-77; Ritchie, 342 F.3d at 908;
25   Parrino v. FHP, Inc., 146 F.3d at 706.
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27   3
       Kissler disputes many of the allegations in Plaintiffs’ Complaint, but recognizes that
     a plaintiff’s well-pleaded factual allegations are taken as true for the purposes of a
28   motion to dismiss—except where contradicted by documents incorporated by reference
     into the Complaint or by matters of judicial notice (see Section II, above).
     Accordingly, Kissler’s recitation of the Complaint’s factual allegations for the
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 1         Plaintiffs allege that, in February 2020, Kissler submitted bids to Home Depot
 2   for “certain contracts regarding plumbing and repair products.” (Compl., ¶ 8.) Kissler
 3   then allegedly “reached out to Mr. Gang He (CEO of SHLA Group., Inc.) in early
 4   2021 to discuss product sourcing and procurement to fulfill Home Depot’s demands if
 5   Kissler’s bidding was successful.” (Compl., ¶¶ 10-11.)
 6         Thereafter, on July 7, 2021, Kissler emailed Mr. He to inform him that Kissler
 7   “won some home depot business.” (Compl., ¶¶ 12; see also Kissler Decl., Ex. A.) The
 8   parties then proceeded to exchange a series of emails from July 8, 2021 through July
 9   15, 2021, requesting various information from one another relating to Kissler’s
10   potential purchase of products from SHLA. (See Compl., ¶¶ 12-13; Kissler Decl., Ex
11   A.) In one such email dated July 8, 2021, Mr. He asked Kissler various questions,
12   including, “In the future, how often is the shipment?” (Kissler Decl., Ex A.) Kissler
13   responded to that question in a July 15, 2021 email, stating, “I think shipments will be
14   4 times a year, but I don’t know until we start doing business with the[m] [i.e.,
15   Home Depot].” (Kissler Decl., Ex. A (emphasis added).) In their Complaint, Plaintiffs
16   have quoted the phrase “4 times a year” from that email, out of context, in an apparent
17   effort to portray it (inaccurately) as some sort of “commitment.” (See Compl., ¶ 13.)
18         Plaintiffs then allege that “[o]n December 17, 2021, [Kissler] issued three
19   purchase orders to SHLA consisting of PO10999, PO10107, and PO10106” (hereafter
20   referred to as the “December 17, 2021 Purchase Orders”). (Compl., ¶ 14.) Plaintiffs
21   further allege that “the purchase orders specified December 2021 as estimated shipping
22   dates,” and that “[t]he three orders combined total over US $2 million worth of
23   products.” (Id.)
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     purposes of this motion is not an admission of their truth. Additionally, the factual
27   allegations relating to the underlying patent infringement action by non-party Danco,
     Inc. relate only to Plaintiffs’ declaratory relief cause of action, which Kissler is not
28   moving to dismiss, and thus those allegations are not relevant to this motion and are
     not discussed herein.
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 1         Plaintiffs omit from their Complaint, however, critical details relating to the
 2   alleged December 17, 2021 Purchase Orders—details which are reflected in the very
 3   same email thread. To begin, and contrary to the Complaint’s suggestion that the
 4   purchase orders contemplated shipment in December 2021, the email transmitting the
 5   purchase orders stated, “POs 10106 and 10107 can be shipped after the 2/22 [February
 6   2022] mark. 10106 Target would be April 1 and 10107 would be a May 15th mark.”
 7   (Kissler Decl., Ex. B.). More importantly, that same day (December 17, 2021), and
 8   within the span of just a few hours:
 9         (i)     Mr. He responded to the email transmitting the purchase orders, disputing
10                 a product price reflected therein—thereby rejecting the purchase orders
11                 (“From one look at the POs, item 70685, Moen BN, $11.39 not $9.36.
12                 Please re-send me those POs.”) (Kissler Decl., Ex. B (emphasis
13                 added).);
14         (ii)    Kissler then replied to Mr. He’s email, declining his request to revise and
15                 resubmit the purchase orders, stating, “Please hold off on the POs. HD
16                 [Home Depot] is asking for another week and are going to push back the
17                 May date. Sorry but they just called me. Please confirm;” and
18         (iii)   Mr. He replied back, “Got it, no problem.”
19   (Kissler Decl., Ex. B (emphasis added).)
20         Then, six days later, on December 23, 2021, Kissler sent an email to Mr. He,
21   attaching a new purchase order (no. 10127), and stating, “Here is your opening order. .
22   . . Please let me know if this can ship by April 1st the latest.” (Kissler Decl., Ex. C.)
23   Mr. He responded that same day, “Are we going to keep the previous 3 POs or cancel?
24   What’s the total plan for shipments?” (Id.) Kissler replied, the same day, “For now
25   cancel the previous 3. We won’t know about those until Jan so I can always re-write.
26   For the PO I just sent, please ship whenever it’s ready.” (Id.) Mr. He responded later
27   that day, “Ok, will do. Thanks!” (Id.)
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 1            Plaintiffs’ Complaint alleges that Kissler issued this new purchase order (no.
 2   10127), and two further purchase orders (nos. 10363 and 10397), on April 13, 2022
 3   (collectively, the “Subsequent Purchase Orders”). (Compl., ¶ 15.) To be clear, these
 4   three Subsequent Purchase Orders are alleged to be different from (and have different
 5   order numbers from) the alleged December 17, 2021 Purchase Orders. Plaintiffs allege
 6   that the Subsequent Purchase Orders “total over US $1 million worth of products” (as
 7   distinguished from the earlier alleged December 17, 2021 Purchase Orders, which are
 8   alleged to “total over US $2 million worth of products”). (Compare Compl. ¶ 14 with
 9   ¶ 15.)
10            The Complaint then alleges that “Mr. He formed Park 2580 in January 2022”—
11   several weeks after the December 17, 2021 email exchange wherein (i) Mr. He
12   rejected the alleged December 17, 2021 Purchase Orders, and (ii) the parties agreed in
13   writing not to proceed with those orders. 4 (Compl., ¶ 16.) Mr. He allegedly formed
14   plaintiff Park 2580 “for the purpose of transacting business with Kissler, and to
15   separate them from the businesses of SHLA.” (Id.) The Complaint further alleges that
16   “Park 2580 has entered into contractual relationships with a Chinese manufacturer to
17   fabricate the universal trim kit products Kissler ordered,” and that “Park 2580 made
18   arrangements for the Chinese manufacturer to make all the products needed to fulfill
19   Kissler’s December 17, 2021 purchase orders”—i.e., the very same purchase orders
20   that Mr. He had rejected, and the parties agreed to abandon, several weeks before Park
21   2580 even existed. (Compl., ¶ 17 (emphasis added).)
22            Finally, the Complaint alleges that “Kissler has repudiated its commitments to
23   purchase all the goods that were fabricated according to Kissler’s December 17, 2021
24   purchase orders.” (Compl., ¶ 19 (emphasis added).) There is no allegation in the
25
26
27   4
      Indeed, judicially noticeable records on file with the California Secretary of State
28   demonstrate that Park 2580 was formed on January 26, 2022. (See Request for
     Judicial Notice filed concurrently herewith, Ex. A.)
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 1   Complaint that Kissler failed to honor or pay for the Subsequent Purchase Orders (nor
 2   is there any dispute that Kissler did so).
 3         On the basis of these alleged facts, Plaintiffs proceed to allege claims for breach
 4   of written contract, breach of implied contract, and promissory estoppel.
 5   IV.   THE COURT SHOULD DISMISS PLAINTIFFS’ CONTRACT AND
 6         PROMISSORY ESTOPPEL CLAIMS WITH PREJUDICE
 7             A. PLAINTIFFS FAIL TO STATE A CLAIM FOR BREACH OF
 8                WRITTEN CONTRACT
 9         To assert a breach of contract claim, the plaintiff must plead facts demonstrating
10   the following elements: “(1) existence of the contract, (2) performance by the plaintiff
11   or excuse for nonperformance, (3) breach by the defendant, and (4) damages.” Tom
12   Trading, Inc. v. Better Blue, Inc., 26 Fed. Appx. 733, 735 (9th Cir. 2002). Here,
13   Plaintiffs have not alleged facts demonstrating the existence of a contract with respect
14   to the December 17, 2021 Purchase Orders.
15         For a court to find the existence of a contract, there must be an offer, acceptance,
16   and mutual intention to contract. Krottner v. Starbucks Corp., 406 Fed. Appx. 129,
17   131 (9th Cir. 2010). Further, the acceptance must be in terms of the offer and it must
18   be communicated to the offeror. Under basic contract law “‘[a]n offer must be
19   sufficiently definite, or must call for such definite terms in the acceptance that the
20   performance promised is reasonably certain.’” Ladas v. California State Automobile
21   Assn., 19 Cal. App. 4th 761, 770 (1993). “Acceptance of an offer, which may be
22   manifested by conduct as well as by words, must be expressed or communicated by the
23   offeree to the offeror.” Russell v. Union Oil Co., 7 Cal. App. 3d 110, 114 (1970).
24   Existence of mutual consent is determined by objective rather than subjective
25   criteria—the test being what the outward manifestations of consent would lead a
26   reasonable person to believe. Monster Energy Co. v. Schechter, 7 Cal. 5th 781, 789
27   (2019). “[T]erms proposed in an offer must be met exactly, precisely and
28   unequivocally for its acceptance to result in the formation of a binding contract; and a

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 1   qualified acceptance amounts to a new proposal or counteroffer putting an end to the
 2   original offer.” Panagotacos v. Bank of America, 60 Cal. App. 4th 851, 855–56
 3   (1998).
 4         Plaintiffs’ breach of contract claim5 fatally relies on the allegation that Kissler
 5   “repudiated its commitments to purchase all the goods that were fabricated according
 6   to Kissler’s December 17, 2021 purchase orders.” (Compl., ¶ 19.) As the facts
 7   detailed in Section III, above, demonstrate, however, the alleged December 17, 2021
 8   Purchase Orders never formed a contract as a matter of law. First, Mr. He responded
 9   immediately (the same day) to the purchase orders, in writing, by rejecting a product
10   price set forth in the orders, and requesting that revised purchase orders be issued
11   instead. (Kissler Decl., Ex. B (“From one look at the POs, item 70685, Moen BN,
12   $11.39 not $9.36. Please re-send me those POs.”) (emphasis added).) Moreover,
13   Kissler did not reissue the purchase orders; rather (still on the same day), Kissler
14   replied, “Please hold off on the POs. HD [Home Depot] is asking for another week
15   and are going to push back the May date. Sorry but they just called me. Please
16   confirm.” (Kissler Decl., Ex. B.) Mr. He did indeed confirm, the same day: “Got it,
17   no problem.” (Id.)
18         Thus, a contract was not formed because Plaintiffs’ response was not an
19   acceptance of Kissler’s offer but rather a counteroffer, i.e., Plaintiffs did not accept the
20   December 17, 2021 Purchase Orders but rather replied that their pricing was incorrect
21   and requested that revised orders be submitted instead. See Landberg v. Landberg, 24
22   Cal. App. 3d 742, 750 (1972) (“qualified acceptance constitutes a rejection terminating
23   the offer; it is a new proposal or counteroffer which must be accepted by the former
24
25   5
       There are two plaintiffs in this action, i.e., SHLA and Park 2850. It is unclear from
26   the Complaint which of the two plaintiffs is asserting which cause(s) of action. Kissler
     reserves all rights with respect to this issue and related issues of standing, but as
27   detailed herein, none of the three causes of action at issue is adequately pleaded, in any
     event. As such, for the sake of convenience and simplicity, throughout this brief
28   Kissler often refers to the two “Plaintiffs,” collectively (as they have done in their
     Complaint).
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 1   offeror now turned offeree before a binding contract results”). For this reason, alone,
 2   Plaintiffs’ contract claim fails. Further, the parties expressly confirmed, in writing,
 3   that they would not proceed with the December 17, 2021 Purchase Orders, in any
 4   event.
 5            As still further confirmation of the above: six days later, Kissler sent an email to
 6   Mr. He, attaching a new purchase order (no. 10127), and stating, “Here is your opening
 7   order. ... Please let me know if this can ship by April 1st the latest.” (Kissler Decl.,
 8   Ex. C.) Mr. He responded that same day, “Are we going to keep the previous 3 POs or
 9   cancel? What’s the total plan for shipments?” (Id.) Kissler replied, the same day,
10   “For now cancel the previous 3. We won’t know about those until Jan so I can always
11   re-write. For the PO I just sent, please ship whenever it’s ready.” (Id.) Finally, Mr.
12   He responded later that day, “Ok, will do. Thanks!” (Id.)
13            Even if arguendo the Court were to find that Plaintiffs have alleged the
14   formation of an initial contract by way of the December 17, 2021 Purchase Orders
15   (which it should not), the Court should nonetheless find that such contract was
16   modified by mutual assent of the parties via Kissler’s offer, and Plaintiffs’ acceptance,
17   of the December 23, 2021 purchase order, with both parties confirming the
18   cancellation of the earlier December 2021 Purchase Orders. “It is axiomatic that the
19   parties to an agreement may modify it.” Vella v. Hudgin, 151 Cal. App. 3d 515, 519
20   (1984). “A contract can, of course, be subsequently modified with the assent of the
21   parties thereto, provided the same elements essential to the validity of the original
22   contract are present.” Carlson, Collins, Gordon & Bold v. Banducci, 257 Cal. App. 2d
23   212, 223 (1967).
24            Finally, separate and apart from the foregoing fundamental defects in Plaintiffs’
25   claim, the Court should also dismiss Plaintiffs’ cause of action for breach of written
26   contract for the additional reason that Plaintiffs have not attached the operative
27   agreement, nor sufficiently alleged the substance and terms of the alleged contract. In
28   alleging the existence of the contract, a “plaintiff may set forth the contract verbatim in

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 1   the complaint or plead it, as indicated, by exhibit, or plead it according to its legal
 2   effect.” Buchanan v. Neighbors Van Lines, No. CV 10 6206 PSG (RCx), 2010 WL
 3   4916644, *5 (C.D. Cal. Nov. 29, 2010). In order to plead a contract’s legal effect, a
 4   plaintiff must “allege the substance of its relevant terms,” which is more difficult than
 5   pleading the contract’s precise language because it “requires a careful analysis of the
 6   instrument, comprehensiveness in statement, and avoidance of legal conclusions.”
 7   Parrish v. NFL Players Ass’n, 534 F. Supp. 2d 1081, 1094 (N.D. Cal. 2007).
 8         Here, Plaintiffs fail to allege the contract’s terms, including what provisions of
 9   the relevant contract were alleged breached by Kissler and how. Instead, the
10   Complaint alleges as a mere legal conclusion that “Kissler has repudiated its
11   commitments to purchase all the goods that were fabricated according to Kissler’s
12   December 17, 2021 purchase orders. Kissler has ceased issuing additional purchase
13   orders . . . ” (Compl. ¶ 19), but does not specify which products were entailed by the
14   alleged December 17, 2021 Purchase Orders, or whether any contract terms existed
15   such that “ceas[ing] additional purchase orders” constituted a breach. Plaintiffs also
16   allege as a mere legal conclusion that they “performed their obligations under the
17   contract except for terms of the contract that have been excused” (Compl., ¶ 33),
18   without ever specifying what conditions, covenants, and promises were provided for
19   under the alleged contract.
20         For each of the foregoing reasons, the Court should dismiss Plaintiffs’ claim for
21   breach of written contract.
22             B. PLAINTIFFS FAIL TO STATE A CLAIM FOR BREACH OF
23                IMPLIED CONTRACT
24         Plaintiffs’ breach of implied contract claim fares no better. While a contract
25   may be implied, it still must satisfy the requirements of contract formation. “An
26   express contract is one, the terms of which are stated in words[,]” (Cal. Civ. Code
27   § 1620) whereas “[a]n implied contract is one, the existence and terms of which are
28   manifested by conduct.” Cal. Civ. Code § 1621 (emphasis added); Marvin v. Marvin,

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 1   18 Cal. 3d 660, 678, n. 16 (1976) (“If the agreement is shown by the direct words of
 2   the parties, spoken or written, the contract is said to be an express one. But if such
 3   agreement can only be shown by the acts and conduct of the parties, interpreted in the
 4   light of the subject-matter and of the surrounding circumstances, then the contract is an
 5   implied one.”).
 6         “The very heart of an enforceable implied in fact contract is the mutual intention
 7   of the parties; hence the assumption, intention or expectation of either party alone can
 8   give rise to no inference of an implied contract.” Div. of Lab. L. Enf’t v. Transpacific
 9   Transportation Co., 69 Cal. App. 3d 268, 277 (1977); citing Gold v. Gibbons, 178 Cal.
10   App. 2d 517, 520 (1960). For a court to find the existence of a contract, there must be
11   an offer, acceptance, and mutual intention to contract. Krottner v. Starbucks Corp.,
12   406 Fed. Appx. 129, 131 (9th Cir. 2010). Further, the acceptance must be in terms of
13   the offer and it must be communicated to the offeror. Under basic contract law “‘[a]n
14   offer must be sufficiently definite, or must call for such definite terms in the
15   acceptance that the performance promised is reasonably certain.’” Ladas v. California
16   State Automobile Assn., 19 Cal. App. 4th 761, 770 (1993). “Acceptance of an offer,
17   which may be manifested by conduct as well as by words, must be expressed or
18   communicated by the offeree to the offeror.” Russell v. Union Oil Co., 7 Cal. App. 3d
19   110, 114 (1970). Existence of mutual consent is determined by objective rather than
20   subjective criteria—the test being what the outward manifestations of consent would
21   lead a reasonable person to believe. Monster Energy Co. v. Schechter, 7 Cal. 5th 781,
22   789 (2019).
23         To survive a motion to dismiss, a plaintiff must plead details including when the
24   implied contract took effect, how it was formed, and its specific terms. Allen v.
25   Nextera Energy Operating Servs., LLC, No. C 12-01610 LB, 2012 WL 1918930, at *2
26   (N.D. Cal. May 25, 2012). Here, Plaintiffs fall woefully short of these requirements.
27         Plaintiffs allege in vague and conclusory terms that “[a]n implied contract exists
28   between the parties that require[s] Defendant to issue sufficient orders so that

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 1   Defendant can defray the initial cost of setting up the manufacturing lines including
 2   cost of tooling.” (Compl., ¶ 37.) After a thorough review of Plaintiffs’ 10-page
 3   Complaint, it is unclear what “conduct” Plaintiffs contend created an implied contract
 4   of any sort, let alone a contract with the terms Plaintiffs have alleged. In fact,
 5   Plaintiffs do not seem to be relying on Kissler’s conduct at all (as would be required to
 6   demonstrate an implied contract), but rather its words—words which do not create
 7   contractual obligations, in any event. For instance, Plaintiffs allege that Kissler
 8   informed Plaintiffs “via email that it ‘won some home depot business.’” (Compl., ¶
 9   12.) Plaintiffs also allege that Kissler requested price confirmation and “provided the
10   target purchase volume.” (Compl., ¶ 12.) In another email, Plaintiffs allege that
11   Kissler stated “it expected shipments of ‘4 times a year.’” (Compl., ¶ 13.)
12         None of these allegations supports the existence of any implied contract—even
13   if the allegations are taken at face value. Moreover, the allegations selectively quote
14   from the subject emails and omit important surrounding context and detail, and in
15   some cases simply misrepresent what was stated in the emails. In particular, Plaintiffs’
16   allegation that Kissler stated in an email that “it expected shipments of ‘4 times a
17   year’” is at best misleading. The email Plaintiffs are referencing came in response to
18   Mr. He’s email, asking, “In the future, how often is the shipment?” Kissler’s actual
19   response (from which the Complaint selectively quotes) was, “I think shipments will
20   be 4 times a year, but I don’t know until we start doing business with the[m] [i.e.,
21   Home Depot].” (Kissler Decl., Ex. A (emphasis added).) Similarly, Plaintiffs’
22   contention that Kissler “provided the target purchase volume” in a July 7, 2021 email
23   is inaccurate. In reality, the email stated that Home Depot “shared some usage with
24   me, so as you can see it’s a lot of business,” and then provided a table which
25   apparently showed historical volumes provided by Home Depot. (Id.) In response,
26   Mr. He asked, “What’s the quantities for the initial order and when?” (Id.) Kissler
27   replied, “The annual usage is shown below. I would assume the initial order will be
28   half that amount.” (Id.)

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 1         Moreover, even if arguendo these emails supported the existence of an “implied
 2   contract” to purchase some undefined quantity of product (which they do not), as
 3   detailed in Section III, above, Plaintiffs have effectively conceded that Kissler
 4   purchased in excess of $1 million worth of products from them, by way of the
 5   Subsequent Purchase Orders—Plaintiffs’ apparent gripe is that Kissler failed to
 6   purchase a full $2 million worth of products consistent with the December 17, 2021
 7   Purchase Orders (which, as detailed above, Plaintiffs rejected and, further, the parties
 8   confirmed in writing were not operative).
 9         In sum, nowhere in their Complaint do Plaintiffs show the basic contract
10   principles of offer, acceptance, or description of specific terms. Under Twombly and
11   Iqbal, merely stating that a contract exists is insufficient to maintain a breach of
12   contract claim. See Iqbal, 556 U.S. at 678 (citation omitted) (“Threadbare recitals of
13   the elements of a cause of action, supported by mere conclusory statements, do not
14   suffice.”). Further, unilateral, subjective expectations do not create a contract right.
15   See Zenith Ins. Co. v. O’Connor, 148 Cal. App. 4th 998, 1010 (2007) (plaintiff did not
16   adequately allege implied contract based on subjective belief). Since Plaintiffs have
17   failed to plausibly allege offer, acceptance, or specific terms, their claim for breach of
18   implied contract should be dismissed as there is no objective metric by which to
19   measure mutual assent.
20             C. PLAINTIFFS FAIL TO STATE A CLAIM FOR PROMISSORY
21                ESTOPPEL
22         “In California, the elements of promissory estoppel are (1) a promise clear and
23   unambiguous in its terms; (2) reliance by the party to whom the promise is made; (3)
24   the reliance must be both reasonable and foreseeable; and (4) the party asserting the
25   estoppel must be injured by his reliance. Mend Health, Inc. v. Carbon Health Techs.,
26   Inc., 588 F. Supp. 3d 1049, 1056 (C.D. Cal. 2022).
27         However, the doctrine of promissory estoppel is inapplicable where commercial
28   parties bargain for consideration. Youngman v. Nevada Irr. Dist., 70 Cal. 2d 240, 249

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 1   (1969).
 2                   i. The Doctrine Of Promissory Estoppel is Inapplicable Where
 3                      Commercial Entities Bargain for Consideration
 4         As a threshold matter, the doctrine of promissory estoppel is simply inapplicable
 5   to the facts alleged here, which involve sophisticated commercial parties bargaining
 6   over potential business.
 7         Promissory estoppel is an equitable doctrine which “employs equitable
 8   principles to satisfy the requirement that consideration must be given in exchange for
 9   the promise sought to be enforced.” Poway Royal Mobilehome Owners Ass’n v. City
10   of Poway, 149 Cal. App. 4th 1460, 1471 (2007) (citations omitted). The purpose of
11   this doctrine is “to make a promise binding, under certain circumstances, without
12   consideration in the usual sense of something bargained for and given in exchange.”
13   Youngman, 70 Cal. 2d at 249. In essence, the doctrine will compensate only those
14   parties who are the beneficiaries of unilateral promises without bargained-for
15   consideration, under certain circumstances.
16         The doctrine of promissory estoppel is inapplicable, however, where
17   commercial parties bargain for benefit or consideration. See Healy v. Brewster, 59
18   Cal. 2d 455, 463 (1963) (“The doctrine of promissory estoppel is inapplicable where
19   the promisee’s performance was requested by the promisor at the time the promise was
20   made.”). “[W]here the promisee’s reliance was bargained for, the law of consideration
21   applies; and it is only where the reliance was unbargained for that there is room for
22   application of the doctrine of promissory estoppel.” Youngman, 70 Cal. 2d at 250.
23   Where the alleged reliance was actually part of the alleged bargain, the claim is subject
24   to dismissal. See Youngman, 70 Cal. 2d at 250.
25         Here, Plaintiffs’ purported reliance rests on their allegation that “in reliance of
26   Kissler’s representation of anticipated substantial Home Depot orders, Park 2580
27   arranged for the Chinese manufacturer to invest and create all the tooling needed to
28   manufacture the products. Park 2580 made arrangement for the Chinese manufacturer

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 1   to make all the products needed to fulfill Kissler’s December 17, 2021 purchase
 2   order.” (Compl. ¶¶ 17-18.) This alleged reliance, however, would necessarily be part
 3   of the alleged bargained-for exchange between Plaintiffs and Kissler (even setting
 4   aside, for the moment, that the alleged “reliance” on the December 17, 2021 Purchase
 5   Orders occurred more than a month after Plaintiffs had rejected those orders via a
 6   counter-offer, and after the parties had confirmed, in writing, that the orders were not
 7   operative). (Compl., ¶¶ 13-14.)
 8         As such, the allegations of the complaint, taken as true, fail to state a claim for
 9   promissory estoppel. The same transaction and negotiation which purportedly creates
10   the right to Plaintiffs’ contract damages is not a form of unbargained-for reliance. “If
11   the promisee’s performance was requested at the time the promisor made his promise
12   and that performance was bargained for, the doctrine is inapplicable.” Youngman, 70
13   Cal. 2d at 249. This result flows logically from the fact that the purpose of the
14   promissory estoppel doctrine is to offer, in certain circumstances, a method of relief to
15   parties who cannot allege bargained-for consideration. See Walker v. KFC Corp., 728
16   F.2d 1215, 1219 (9th Cir. 1984) (“Promissory estoppel is not a doctrine designed to
17   give a party to a negotiated commercial bargain a second bite at the apple in the event
18   it fails to prove a breach of contract.”); Horne v. Harley-Davidson, Inc., 660 F. Supp.
19   2d 1152, 1163 (C.D. Cal. 2009) (granting motion to dismiss promissory estoppel claim
20   based upon same facts as alleged contract); Chavez v. CITI mortgages, Inc., No. 5:12-
21   CV-1617-SVW-OP, 2012 WL 12895843, at *4 (C.D. Cal. Dec. 19, 2012) (same).
22                   ii. Plaintiffs Fail to State a Claim for Promissory Estoppel In Any
23                       Event
24         Even if, arguendo, the doctrine of promissory estoppel could apply in this case,
25   Plaintiffs fail to adequately allege either (1) the existence of a clear and unambiguous
26   promise; or (2) Plaintiffs’ reasonable and foreseeable reliance on that promise.
27         “The cases are uniform in holding that this doctrine cannot be invoked and must
28   be held inapplicable in the absence of a showing that a promise had been made upon

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 1   which the complaining party relied to his prejudice.” Div. of Lab. L. Enf’t v.
 2   Transpacific Transportation Co., 69 Cal. App. 3d 268, 277 (1977). “The promise
 3   must, in addition, be ‘clear and unambiguous in its terms.’” Garcia v. World Savings,
 4   FSB, 183 Cal. App. 4th 1031, 1044 (2010). The promise must be “‘definite enough
 5   that a court can determine the scope of the duty[,] and the limits of performance must
 6   be sufficiently defined to provide a rational basis for the assessment of damages.’” Id.
 7          “A plaintiff’s misguided belief or guileless action in relying on a statement on
 8   which no reasonable person would rely is not justifiable reliance if the conduct of the
 9   plaintiff in the light of his own intelligence and information was manifestly
10   unreasonable, . . . he will be denied a recovery. A mere hopeful expectation cannot be
11   equated with the necessary justifiable reliance.” Aceves v. U.S. Bank, N.A., 192 Cal.
12   App. 4th 218, 227 (2011), as modified (Feb. 9, 2011) (cleaned up).
13         Plaintiffs make the following four incongruous allegations in their Complaint
14   which Kissler assumes are Plaintiffs’ attempt to allege the existence of a clear and
15   unambiguous promise:
16          1) “On July 15, 2021, Kissler confirmed via email that it would be selling
17              under the Home Depot Everbilt brand and again requested price
18              confirmation. Kissler additionally noted that it expected shipments of ‘4
19              times a year.’”6 (Compl., ¶ 13.)
20          2) “Defendant represented that it expects a large volume of Home Depot
21              business with respect to the universal trim kit.” (Compl., ¶ 36.)
22          3) “Defendant made a promise to issue a sufficiently large purchase order, or
23              a sufficiently large series of purchase orders, so that Defendant can defray
24
25   6
       As detailed in Sections III, and IV.B, above, Plaintiffs’ allegation that Kissler stated
26   in an email that “it expected shipments ‘4 times a year”” is misleading, at best. As
     reflected in the referenced emails, Mr. He asked Kissler, in part, “In the future, how
27   often is the shipment?,” and Kissler responded, in part, “I think shipments will be 4
     times a year, but I don’t know until we start doing business with the[m] [i.e., Home
28   Depot].” (Kissler Decl., Ex. A) (emphasis added). As such, Plaintiffs had no
     reasonable expectation with respect to any future orders.
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 1              the initial cost of setting up the manufacturing lines including the cost of
 2              tooling.” (Compl., ¶ 41.)
 3          4) “Defendant made a promise to order at least hundreds of thousands of the
 4              universal trim kit products as early as December 2021.” (Compl., ¶ 42.)
 5         There is nothing “clear and unambiguous” in these alleged promises of “a large
 6   volume of business,” “a sufficiently large purchase order,” and the like, and for this
 7   reason, alone, the claim fails. See, e.g., Garcia, FSB, 183 Cal. App. 4th at 1044. The
 8   Complaint provides no detail as to what might constitute a “sufficiently large purchase
 9   order” for Plaintiffs to “defray the initial cost of setting up the manufacturing lines
10   including the cost of tooling”—let alone facts demonstrating that Kissler would even
11   know what Plaintiffs’ own tooling costs were, to such a degree that Kissler could have
12   made a clear and unambiguous “promise” to order goods in that volume. And to the
13   extent Plaintiffs allege Kisser “made a promise to order at least hundreds of thousands
14   of the universal trim kit products as early as December 2021,” they can only be
15   referring to the December 17, 2021 Purchase Orders—which as detailed above were
16   extinguished by Plaintiffs’ own conduct and, further, the parties confirmed in writing
17   were not operative.
18         Additionally, the Complaint does not plausibly allege reliance at all—let alone
19   reasonable and foreseeable reliance, as is required. First, as discussed above, just a
20   few hours elapsed over the course of (1) Kissler sending the December 17, 2021
21   Purchase Orders to Plaintiffs, (2) Plaintiffs rejecting those orders and countering with a
22   different product price, and requesting new purchase orders, (3) Kissler replying,
23   “Please hold off on the POs. [HOME DEPOT] is asking for another week and are
24   going to push back the May date. Sorry but they just called me. Please confirm[,]” and
25   finally (4) Plaintiffs responding, “Got it, no problem.” As such, the notion that
26   Plaintiffs placed any reliance on such an exchange is simply implausible.
27         Further, Plaintiffs describe the purported reliance as follows: “In reliance of
28   Kissler’s representation of anticipated substantial Home Depot orders, Park 2580

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 1   arranged for the Chinese manufacturer to invest and create all the tooling needed to
 2   manufacture the products. Park 2580 made arrangement for the Chinese manufacturer
 3   to make all the products needed to fulfill Kissler’s December 17, 2021 purchase
 4   order.” (Compl. ¶¶ 17-18 (emphasis added).) Although the Complaint does not
 5   specify when, exactly, Park 2580 allegedly took these actions in “reliance” on the
 6   December 17, 2021 Purchase Orders, it cannot possibly have occurred any earlier than
 7   January 2022, as the Complaint acknowledges (and judicially noticeable records
 8   confirm) that Park 2580 did not even exist prior to January 2022—after the December
 9   17, 2021 Purchase Orders were extinguished, both by Plaintiffs’ rejection of them and,
10   further, by mutual agreement of the parties, as detailed in the preceding sections.
11         In sum, the Complaint’s alleged facts (and incorporated documents) reveal that
12   what Plaintiffs are labeling as “reliance” was, at best, a “mere hopeful expectation
13   [that] cannot be equated with the necessary justifiable reliance.” Aceves, 192 Cal.
14   App. 4th at 227; Weinstein v. Meritor, Inc., No. 2:16-CV-01076, 2017 WL 4397947, at
15   *3 (D. Nev. Sept. 29, 2017) (holding mere discussions and negotiations surrounding
16   potential purchase orders lacks the requirements of a clear and definite promise).
17   V.    CONCLUSION
18         Because each of Plaintiffs claims is inadequately alleged, and incapable of being
19   cured through amendment, Kissler respectfully requests the Court grant its motion and
20   dismiss Plaintiffs’ claims for (1) breach of contract; (2) breach of implied contract; and
21   (3) promissory estoppel, without leave to amend, and with prejudice.
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                                                Respectfully submitted,
23
     Dated: January 16, 2024                    K&L GATES LLP
24
                                                By /s/ Kevin G. Sullivan
25                                                 Ronie M. Schmelz
                                                   Kevin S. Asfour
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27                                                   Attorneys for Defendant
                                                     KISSLER AND CO. INC.
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                                       MOTION TO DISMISS
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                                       #:92


 1                CERTIFICATE OF COMPLIANCE WITH L.R. 11-6.1
 2         The undersigned, counsel of record for Defendant certifies that this brief
 3   contains 6353 words, which complies with the word limit of L.R. 11-6.1.
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                                         K&L GATES LLP
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 8 Dated: January 16, 2024               By:    /s/ Kevin G. Sullivan
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                                      MOTION TO DISMISS
